Case 4:07-cv-05944-JST Document 6005-2 Filed 03/31/22 Page 1 of 3




           EXHIBIT A
                                                            Case 4:07-cv-05944-JST Document 6005-2 Filed 03/31/22 Page 2 of 3




 In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
 Report on Requests for Exclusion Received For Chunghwa, Philips, Panasonic, LG, Toshiba, Hitachi, Samsung, Thomson, & Mitsubishi Direct Purchaser Settlements

                                                                                                                                                                                                Mitsubishi
                                                                      Chunghwa            Philips        Panasonic             LG            Toshiba           Hitachi    Samsung   Thomson                        Opt-Out
                              Entity*                                                                                                                                                          (Litigated Class)
                                                                                                                                                                                                                   Claimant
                                                                       ECF 1294         ECF 1294        ECF 1464-2 ECF 1573-2 ECF 1757-2 ECF 2728-2 ECF 2728-2                      ECF 4020     ECF 4330
 1. ABC Appliance, Inc. d/b/a ABC Warehouse                                 X                 X                X                X                X                    X      X         X              X               X
 2. Anheuser Busch Companies LLC                                            X                 X
 3. Apple Inc                                                                                                  X                X                X                    X      X                        X
 4. Automated Environments, Inc                                             X                 X
 5. Ayres Group                                                                                                                 X
 6. Bar Appliance & TV Inc                                                                                                                                                                            X
 7. Best Buy Co., Inc.                                                      X                 X                X                X                X                    X      X         X              X
 8. Cemaz Industria Electronica Da Amazonia S/A                                                                                                                       X      X         X
 9. Circuit City Stores Inc                                                 X                 X                X                X                X                    X      X         X              X
 10. CompuCom Systems, Inc                                                  X                 X                X                X                X                    X      X                        X               X
 11. Costco Wholesale Corporation                                           X                 X                                 X                X                    X      X         X              X               X
 12. Dell Inc                                                               X                 X                                 X                X                    X      X         X              X
 13. Electrograph Systems, Inc.                                             X                 X                X                X                X                    X      X         X              X
 14. Hewlett-Packard Company                                                                                                                     X                                                                    X
 15. IGB Electronica S/A                                                                                                                                              X      X         X
 16. Interbond Corporation of America                                       X                 X                X                X                X                    X      X         X              X
       d/b/a BrandsMart USA
 17. MARTA Cooperative of America                                           X                 X                X                X                X                    X      X         X              X
 18. Mivar di Carlo Vichi e C.S.A.S.                                                                           X                X                X
 19. NECO Entities & Affiliates                                             X                 X                X                X                X                                                                    X
 20. Office Depot, Inc.                                                     X                 X                X                X                X                    X      X         X              X               X
 21. P.C. Richard & Son Long Island Corporation                             X                 X                X                X                X                    X      X         X              X
 22. PBE Consumer Electronics, LLC                                          X                 X
 23. Rockwell Collins                                                       X                 X                                                                                                                       X
 24. Schultze Agency Services, LLC (Tweeter)                                X                 X                X                X                X                    X      X         X              X
 25. Sears Roebuck / Kmart                                                  X                 X                X                X                X                    X      X         X              X

*List of related entities and subsidiaries for each Entity requesting exclusion can be found within the Exhibits to declarations filed under identifed ECF numbers.                                                    P.1 of 2 __
                                                            Case 4:07-cv-05944-JST Document 6005-2 Filed 03/31/22 Page 3 of 3




 In re Cathode Ray Tube (CRT) Antitrust Litigation – MDL No. 1917, Master File No. 07-CV-5944-JST
 Report on Requests for Exclusion Received For Chunghwa, Philips, Panasonic, LG, Toshiba, Hitachi, Samsung, Thomson, & Mitsubishi Direct Purchaser Settlements

                                                                                                                                                                                          Mitsubishi
                                                                      Chunghwa           Philips         Panasonic     LG      Toshiba     Hitachi   Samsung                  Thomson                        Opt-Out
                              Entity*                                                                                                                                                    (Litigated Class)
                                                                                                                                                                                                             Claimant
                                                                      ECF 1294          ECF 1294        ECF 1464-2 ECF 1573-2 ECF 1757-2 ECF 2728-2 ECF 2728-2                ECF 4020     ECF 4330
 26. Sharp Corporation                                                      X                 X                X                X                X                    X   X      X              X
 27. Sysco Corporation                                                                                                                           X
 28. Target Corporation                                                     X                 X                X                X                X                    X   X                     X
 29. Tech Data Corporation                                                  X                 X                X                X                X                    X   X      X              X
 30. Unisys Corporation                                                     X                 X                X                X                X                                                              X
 31. ViewSonic Corporation                                                  X                 X                X                X                X                    X   X                     X


                                                                                                                                                                                          Mitsubishi
                                                                      Chunghwa           Philips         Panasonic     LG      Toshiba     Hitachi   Samsung                  Thomson                        Opt-Out
                            Individual                                                                                                                                                   (Litigated Class)
                                                                                                                                                                                                             Claimant
                                                                      ECF 1294          ECF 1294        ECF 1464-2 ECF 1573-2 ECF 1757-2 ECF 2728-2 ECF 2728-2                ECF 4020     ECF 4330
 32. Arlene J Smith                                                                                                                                                   X   X
 33. Jerry Laatsch                                                                                             X                X




*List of related entities and subsidiaries for each Entity requesting exclusion can be found within the Exhibits to declarations filed under identifed ECF numbers.                                              P.2 of 2 __
